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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

STEVE MCLELLAN,
an Individual

      Plaintiff,
                                        CASE NO.: 3:18-CV-00254-BJD-MCR

vs.

CORRECTIONS OFFICER
SHANE BIANCANIELLO,
individually,
and
CAPTAIN/CORRECTIONS
OFFICER SWAIN

      Defendants.
                                           /

  DEFENDANTS, CORRECTIONS OFFICER SHANE BIANCANIELLO
   AND CAPTAIN/CORRECTIONS OFFICER SWAIN’S NOTICE OF
               FILING STATE COURT RECORD

      The Defendants, CORRECTIONS OFFICER SHANE BIANCANIELLO

AND CAPTAIN/CORRECTIONS OFFICER SWAIN pursuant to Local Rule

4.02(b) gives notice of filing the state court record.

      Dated this 30th day of May 2018 in Clay County Florida.
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Defendants Notice of Filing State Court Record
Case No.: 3:18-CV-00254-BJD-MCR


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                            By:    /s/ Sean C. Barber
                                   Sean C. Barber
                                   Florida Bar No.: 0680931




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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has

been sent to: D. Marc Warner, Esq. 5200 SW 91st Terrace, Suite 101, Gainesville,

FL 32608 electronically via the CM/ECF filing system and e-mail at

marc@fbswlaw.com; kimhart@fbswlaw.com; Nicholas Christopolis, Esq., 4309

Salisbury Road, Jacksonville, FL 32216 at nchristopolis@florida-law.com; Gregg

A. Toomey, Esq., The Old Robb & Stucky Building1625 Hendry Street,

Suite203, Fort Myers, FL 33901, at gat@thetoomeylawfirm.com on this 30th day

of May, 2018.

                                    /s/ Sean C. Barber
                                               Attorney

SB/scb
133.18015




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